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                                   UNITED STATES DISTRICT COURT FOR THE
                                       SOUTHERN DISTRICT OF FLORIDA
                                               Miami Division

                                       Case Number: 22-21317-CIV-MORENO

          YOSDALIS E. GARCIA,

                          Plaintiff,
          vs.

          AAM INSURANCE CORP, doing business as
          UNIVISTA INSURANCE; ALBERTO
          DOMINGUEZ MENENDEZ; and ALAIN
          DOMINGUEZ MENENDEZ,

                          Defendant.
          - - - - - -- - - - - - - -- - - -I
                                       SCHEDULING ORDER SETTING TRIAL

                  THIS COURT issues this order in accordance with Local Rule 16.1. The parties shall
          comply with the following deadlines .

          Selection of a mediator to be completed no later than:                      June 27, 2022

          Deadline to join additional parties or to amend pleadings :                  July 11 , 2022

          In the unlikely event that experts are needed, disclosure of experts '
          names and their reports are required at least 30 days before the
          discovery deadline.                                                        October 3, 2022

          Deadline to complete all discovery (including expert discovery):

          Deadline for the filing of all motions for summary judgment:               October 24, 2022

          Deadline for the filing of pretrial motions (including motions in limine
                                                                                     December 1, 2022
          and Daubert motions):

          Mediation to be completed no later than:                                   December 1, 2022

          Plaintiff's witness and exhibit lists:                                     January 11 , 2023

          Defendant's witness and exhibit lists:                                     January 13 , 2023

          Pretrial stipulations to be filed by:                                      January 17, 2023

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  Calendar Call at 2:00 p.m., Wilkie D. Ferguson U.S. Courthouse,
                                                                                     January 24, 2023
  Courtroom 12-2, 400 North Miami Avenue, Miami, FL 33128:

  Trial set for the two-week period commencing:                                      January 30, 2023

         Pursuant to Federal Rule of Civil Procedure 40, this action is at issue. It is
  ADJUDGED that the parties shall comply with the following trial management procedures:
         (1)      Pretrial Conference - The Pretrial Conference allowed under Federal Rule of
  Civil Procedure 16(a) and required by Local Rule 16.1.C, shall take place immediately following
  Calendar Call only if requested by the parties in advance. If the parties do not request a pretrial
  conference in advance of Calendar Call then no pretrial conference will be held.
         (2)      Plaintiff's Witness and Exhibit Lists - Plaintiff shall electronically upload onto
  the case docket a copy of Plaintiffs Witness List and a copy of Plaintiffs Exhibit List no later
  than Wednesday, January 11, 2023, at 5:00 p.m.
               (a) Plaintiff's Witness List - Plaintiffs Witness List shall include all the witnesses,
                  both lay and expert, that Plaintiff intends to call at trial. Plaintiffs Witness List
                  shall briefly describe the nature of each witness' testimony and whether such
                  witnesses will be testifying live or by deposition. Witnesses omitted from the list
                  will not be allowed at trial.
               (b) Plaintiff's Exhibit List - Plaintiffs Exhibit List shall include the exhibits that
                  Plaintiff intends to use at trial.       Plaintiffs Exhibit List shall in consecutively
                  numbered paragraphs adequately describe the nature of each document listed.
                  The actual exhibits shall be pre-marked with corresponding numbers (e.g.
                  Plaintiffs Exhibit #1, Plaintiffs Exhibit #2, etc.) which numbers they will retain
                  through the end of trial. The exhibit list shall refer to specific items and shall not
                  include blanket statements such as all exhibits produced during depositions or
                  Plaintiff reserves the use of any other relevant evidence. Exhibits omitted from
                  the list will not be allowed at trial.
         (3)      Defendant's Witness and Exhibit Lists - Defendant shall electronically upload
  onto the case docket a copy of Defendant's Witness List and a copy of Defendant's Exhibit List
  no later than Friday, January 13, 2023, at 5:00 p.m.




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             (a) Defendant's Witness List - Defendant's Witness List shall include only those
                   additional lay and expert witnesses not included on Plaintiffs Witness List.
                   Witnesses listed by Plaintiff will be available for both parties and should not be
                   re-listed on Defendant's Witness List. Defendant's Witness List shall briefly
                   describe the nature of each additional witness' testimony and whether such
                   witnesses will be testifying live or by deposition.        Witnesses omitted from
                   Defendant's Witness List and not listed on Plaintiffs Witness List will not be
                   allowed at trial.
             (b) Defendant's Exhibit List - Defendant's Exhibit List shall include only those
                   additional exhibits that Defendant wishes to introduce at trial which are not on
                 . Plaintiffs Exhibit List. Defendant's Exhibit List shall in consecutively numbered
                   paragraphs adequately describe the nature of each document listed. The actual
                   exhibits shall be pre-marked with corresponding numbers (e.g. Defendant's
                   Exhibit # 1, Defendant's Exhibit #2, etc.) which numbers they will retain through
                   the end of trial. The exhibit list shall refer to specific items and shall not include
                   blanket statements such as all exhibits produced during depositions or Defendant
                   reserves the use of any other relevant evidence.            Exhibits omitted from
                   Defendant's Exhibit List and not listed on Plaintiffs Exhibit List will not be
                   allowed at trial.
     (4) Pretrial Stipulation - Pursuant to Local Rule 16.1.E, the parties shal l file a Pretrial
  Stipulation no later than Tuesday, January 17, 2023. The Pretrial Stipulation shall conform to
  the requirements of Local Rule 16.1.E. The parties shall attach to the Pretrial Stipulation copies
  of the witness and exhibit lists along with any objections allowed under Local Rule 16.1.E.9. A
  pending motion for continuance shall not stay the requirement for filing of a Joint Pretrial
  Stipulation.
     (5) Continuance / Settlement - To the extent that the parties request modification of any
  date in this Court's Scheduling Order, the parties shall file either a Motion to Continue Trial or a
  Motion to Continue Pretrial Deadlines. A stipulation of settlement must also be in writing. See
  Local Rule 7.1.4. Unless the Court grants the motion in writing, counsel must appear at the
  Calendar Call.




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      (6) Motions - When submitting motions, the parties shall submit a proposed order only for
  those motions listed in Local Rule 7. l .A. 1.
      (7) Depositions - Depositions are limited to seven hours during one day absent court order
  or agreement of the parties and any affected non-party witnesses. See Local Rule 26. lK.
      (8) Summary Judgment - The practice of filing multiple motions for partial summary
  judgment which are collectively intended to dispose of the case (as opposed to one
  comprehensive motion for summary judgment) in order to evade memorandum page-limitations
  is specifically prohibited. See Administrative Order 97-06 (S .D. Fla. Jan. 31 , 1997) (amending
  Local Rule 7.1.C.2).


          DONE AND ORDERED in Chambers at Miami, Florida, this ~                 f June 2022.


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                                                   FEDERICOA.MORENO
                                                   UNITED STATES DISTRICT JUDGE

  Copies furnished to:

  Counsel of Record




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